                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF WISCONSIN


    CALEB JAMES GRANT,

                               Plaintiff,
         v.
                                                                  OPINION and ORDER
    DANIEL KROLIKOWSKI, STEVEN MESSNER,
    ALEX BREUNIG, SAUK COUNTY, ERIK KNULL,
                                                                       23-cv-551-jdp
    RICHARD MEISTER, GABRIEL AREVALO,
    MICHAEL ALBRECHT,
    and JOHN DOES 1–5,

                               Defendants.1


        Plaintiff Caleb J. Grant, proceeding without counsel, alleges that defendant members of

the Sauk County Sheriff’s department detained and arrested him without probable cause and

subjected him to unconstitutional conditions of confinement and that defendant district

attorneys brought charges against him without probable cause. The Sauk County defendants

move to dismiss Grant’s claims directly against the county itself, Dkt. 19, and the district

attorney defendants, represented by the Wisconsin Department of Justice, move to dismiss all

of the claims against them, Dkt. 16. For the reasons stated below I will grant the county

defendants’ motion in part, I will grant the district attorney defendants’ motion in full, and I

will dismiss the district attorney defendants from the case. The parties have filed several other

motions that I will also address in this order.




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 I have amended the caption to reflect the proper spelling of defendant Albrecht’s name as
provided in the district attorney defendants’ submissions.
                                    MOTIONS TO DISMISS

A. Allegations of fact

       Grant alleges that he was unlawfully pulled over in traffic stops on April 6 and May 18,

2023, by Sauk County deputies. During the May 18 stop, Grant was arrested and then charged

with obstructing or resisting an officer and given citations for several traffic violations. He

alleges that defendant prosecutors Michael Albrecht and Gabriel Arevalo refused to drop the

charges. The state court’s electronic docket in State v. Grant, Sauk County Case No.

2023CM237, shows that the court granted the state’s motion to dismiss the case in June 2024.

B. Analysis

       1. Preliminary matters

       Grant has filed meritless motions to strike portions of defendants’ motions to dismiss

and supporting materials. Dkt. 25; Dkt. 26; Dkt. 29. I will deny those motions and consider

defendants’ filings. Grant also moved for extensions of his deadlines to respond to defendants’

motions to dismiss, Dkt. 28 and Dkt. 31, and he followed up with his responses. I will grant

his motions for extension of the deadlines and I will consider his responses.

       2. County defendants

       The county defendants move to dismiss Grant’s claims against Sauk County under

Federal Rule of Civil Procedure 12(b)(6). In considering this motion, I must accept the facts

pleaded as true and draw all reasonable inferences in Grant’s favor. The bar to survive a motion

to dismiss is not high, but the complaint must “contain sufficient factual matter, accepted as

true, to ‘state a claim to relief that is plausible on its face.’” Bonte v. U.S. Bank, N.A., 624 F.3d

461, 463 (7th Cir. 2010) (quoting Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009), in turn quoting

Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007)).


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       The county defendants move to dismiss the first two causes of action in Grant’s

complaint: (1) that Sauk County “maintains a pattern and practice of depriving liberty and

property,” and (2) that Sauk County “failed and neglected to properly train and supervise its

employees.” Dkt. 1, at 8–9. A plaintiff may sue a county for constitutional violations under

Monell v. Dep’t of Social Services of City of New York, 436 U.S. 658, 691 (1978). But to do so a

plaintiff must allege that he was harmed by a county policy or practice or by an official with

final policymaking authority. Id.

       For the most part, Grant doesn’t state claims for relief against the county under Monell

because his conclusory allegations do not plausibly suggest that the alleged deprivations were

actually caused by a policy or custom of the county, or that Sheriff Meister directed certain

decisions. Generally, all he alleges is that deputies mistreated him in this single series of events.

See Williams v. Heavener, 217 F.3d 529, 532 (7th Cir.2000) (“Ordinarily, one incident is not

sufficient to establish a custom that can give rise to Monell liability.”). So I will grant the county

defendants’ motion as it pertains to the traffic stops and Grant’s arrest.

       But Grant also alleges that he was detained in conditions of confinement that violated

the Constitution, such as “cold temperatures, lack of privacy, and lack of sleep as a result of

noise and high intensity lighting.” Dkt. 1, at 7. These allegations plausibly suggest that the jail

conditions were the result of county policies, which is sufficient to plead a Monell claim. So I

will deny this portion of the county defendants’ motion.

       3. District attorney defendants

       Grant alleges that the district attorney defendants “deliberately misused the court

process” by charging him with obstruction and by refusing to drop the charges despite not

having probable cause. Dkt. 1, at 7. The district attorney defendants move to dismiss Grant’s


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claims against them. Dkt. 16. Grant cannot succeed on those claims because district attorneys

are protected by absolute immunity for their prosecutorial acts. See Imbler v. Pachtman, 424 U.S.

409, 431 (1976) (“[I]n initiating a prosecution . . . , the prosecutor is immune from a civil suit

for damages under s 1983.”); see also Archer v. Chisholm, 870 F.3d 603, 612 (7th Cir. 2017)

(“Prosecutors are absolutely immune for actions they undertake in their capacities as

prosecutors, even including malicious prosecution unsupported by probable cause.”).

       Grant also appears to be attempting to sue the district attorney defendants in their

official capacity. Official-capacity suits represent another way of pleading an action against the

entity for which an officer is an agent, Kentucky v. Graham, 473 U.S. 159, 105 (1985), which

in this case is the state of Wisconsin. But Sossamon v. Texas, 563 U.S. 277 (2011), holds that

sovereign immunity bars plaintiffs from asserting official-capacity suits for damages against

state officials. Id. at 285–88. I can’t order any injunctive relief to Grant in this lawsuit either.

Had Grant’s criminal prosecution still been ongoing, I wouldn’t interfere in it. See Younger v.

Harris, 401 U.S. 37, 43–44 (1971). And in any event, Grant’s charges have been dismissed.

       Because Grant cannot bring any claims against the district attorney defendants, I will

grant their motion to dismiss. The district attorney defendants’ motion to stay discovery,

Dkt. 38, and Grant’s motion for injunctive relief against these defendants, Dkt. 62, will be

denied as moot.




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                                      OTHER MOTIONS

A. Motion to amend complaint

       Grant moves to amend his complaint to add as a defendant Michael Screnock, who is

the judge who presided over Grant’s criminal case. Dkt. 46 and Dkt. 49. But Screnock has

absolute immunity for actions taken in his judicial capacity. See, e.g., Dawson v. Newman, 419

F.3d 656, 660–61 (7th Cir. 2005). Because Grant cannot state a valid claim against Screnock,

I will deny his motions to amend the complaint.

B. Motion to strike affirmative defenses

       The county defendants filed an answer responding to the claims for which they did not

seek dismissal. Dkt. 18. Grant moves to strike the county defendants’ affirmative defenses for

two reasons: (1) not separating the defenses by applicable defendant; and (2) being conclusory

and without evidentiary support. Dkt. 23.

       The county defendants list the following affirmative defenses: (1) failure to mitigate;

(2) injuries caused by non-defendants; (3) failure to state a claim; (4) “common law and

statutory immunities and privileges, including absolute, qualified and discretionary immunity”;

(5) failure to exhaust administrative remedies; (6) no legal entitlement to punitive damages,

compensatory damages, or attorneys’ fees and costs; (7) injuries caused by intervening or

superseding cause; (8) “the County did not have in place any unconstitutional policy, practice

or custom”; and (9) the claims are barred under Heck v. Humphrey, 512 U.S. 477 (1994) or the

Rooker-Feldman doctrine. Dkt. 18, at 7–8.

       Federal Rule of Civil Procedure 12(f) states that “[t]he court may strike from a pleading

. . . any redundant, immaterial, impertinent, or scandalous matter.” But motions to strike are

disfavored; they delay proceedings, usually unnecessarily. See Heller Fin., Inc. v. Midwhey Powder


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Co., Inc., 883 F.2d 1286, 1294 (7th Cir. 1989). A motion to strike should “not be granted

unless it appears to a certainty that plaintiffs would succeed despite any state of the facts which

could be proved in support of the defense.” Williams v. Jader Fuel Co., 944 F.2d 1388, 1400

(7th Cir. 1991) (citation omitted).

       Grant cites no authority for the proposition that affirmative defenses must be pleaded

separately for each individual defendant and I am aware of none. I reject that argument.

       As for Grant’s argument that the defenses are conclusory and without evidentiary

support, he has the burden to show “‘that the challenged allegations are so unrelated to

plaintiff’s claim as to be devoid of merit, unworthy of consideration, and unduly prejudicial.’”

Stinson v. Schueler, No. 19-cv-379-jdp, 2020 WL 3403094, at *1 (W.D. Wis. June 19, 2020)

(quoting Pope v. Espeseth, Inc., No. 15-cv-486-jdp, 2016 WL 1715206, at *1 (W.D. Wis. Apr.

28, 2016)).

       Grant hasn’t met that burden here. The county defendants’ affirmative defenses

plausibly relate to Grant’s claims, and asserting them is not unduly prejudicial to Grant. Grant

contends that many of the defenses are vague, but they are sufficient to provide him with notice

of the nature of the defenses, which is all that is required under Federal Rule of Civil

Procedure 8. It is too soon to tell whether each of the defenses are meritorious: some of them

are primarily questions of law, and I will not be able to discern what application they might

have until later, if defendants choose to raise them at summary judgment or trial. Other

defenses depend on facts that will need to be fleshed out during discovery. None of them is

plainly unworthy of consideration, so I will not strike them. Grant may contest these defenses

on the merits if defendants raise them at summary judgment or trial.




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C. Initial disclosures

       Grant has filed two motions for an order compelling defendants to make initial

disclosures under Federal Rule of Civil Procedure 26(a)(1) or sanctioning them for failing to

do so. Dkt. 50 and Dkt. 52. I’ll deny the first of these motions as superseded and I will consider

the second. The county defendants respond, stating that Grant hasn’t given them his initial

disclosures either, and that their delay hasn’t prejudiced Grant. Dkt. 53. Grant moves to strike

a declaration that the county defendants have submitted in support of their response. Dkt. 59.

I’ll deny the motion to strike as meritless.

       Under this court’s administrative order No. 238 (entered in 1993), the court exempts

parties from the initial-disclosure rule in cases brought by an unrepresented party, whether

they are prisoners or not.2 This order expands the initial-disclosure exemption for actions

brought by unrepresented prisoners found in Fed. R. Civ. P. 26(a)(1)(B)(iv). Grant wasn’t

incarcerated at the time he filed the lawsuit, so the unrepresented-prisoner exemption doesn’t

apply to this case. And as Grant states in his “motion for clarification” on the issue, the

Advisory Committee on Rules of Evidence stated in its notes for the 2000 amendments to

Rule 26 that the initial disclosure provisions “are amended to establish a nationally uniform

practice” and that the amendments “remove the authority to alter or opt out of the national

disclosure requirements by local rule, invalidating not only formal local rules but also informal

‘standing’ orders of an individual judge or court that purport to create exemptions from—or

limit or expand—the disclosure provided under the national rule.” Fed. R. Civ. P. 26 Advisory

Committee’s Note. This suggests that this court’s exemption for unrepresented non-prisoner


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  https://www.wiwd.uscourts.gov/sites/default/files/Admin_Order_238.pdf (entered December
6, 1993).


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plaintiffs may no longer be valid. I will discuss with the other judges of this court whether this

order needs to be amended.

       In any event, the parties are each proceeding under the assumption that they are

required to make initial disclosures and they expect the other side to do so. I will grant Grant’s

motion to compel and give both sides a short deadline to make those disclosures.



                                            ORDER

       IT IS ORDERED that:

       1. Plaintiff Caleb J. Grant’s motions to strike portions of defendants’ motions to
          dismiss and supporting materials, Dkt. 25; Dkt. 26; Dkt. 29, are DENIED.

       2. Plaintiff’s motions for extension of time, Dkt. 28 and Dkt. 31, are GRANTED.

       3. The county defendants’ motion for partial dismissal, Dkt. 19, is GRANTED in part.

       4. The district attorney defendants’ motion to dismiss, Dkt. 16, is GRANTED;
          defendants Albrecht and Arevalo are DISMISSED from the case.

       5. The district attorney defendants’ motion to stay discovery, Dkt. 38, is DENIED as
          moot.

       6. Plaintiff’s motion for injunctive relief against the district attorney defendants,
          Dkt. 62, is DENIED as moot.

       7. Plaintiff’s motion to strike affirmative defenses, Dkt. 23, is DENIED.

       8. Plaintiff’s motions to amend the complaint, Dkt. 46 and Dkt. 49, are DENIED.

       9. Plaintiff’s motion to strike a declaration filed by the county defendants, Dkt. 59, is
          DENIED.

       10. Plaintiff’s motion for clarification, Dkt. 44, is GRANTED.

       11. Plaintiff’s first motion to compel initial disclosures, Dkt. 50, is DENIED.




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12. Plaintiff’s second motion to compel initial disclosures, Dkt. 52, is GRANTED. The
    parties may have until August 23, 2024, to make those disclosures.

Entered August 12, 2024.

                                   BY THE COURT:

                                   /s/
                                   ________________________________________
                                   JAMES D. PETERSON
                                   District Judge




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